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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
AMRO ALI, M.D.,

                                   Plaintiff,                            19 CIVIL 8324 (DLC)

                 -against-                                                  JUDGMENT
WESTCHESTER MEDICAL CENTER and NEW
YORK MEDICAL COLLEGE,

                                    Defendants.
-----------------------------------------------------------X

          It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion and Order dated March, 2021, The defendants’ October 30, 2020

motion for summary judgment is granted, judgment is entered for defendants, and the case is

closed.

Dated: New York, New York
       March 17, 2021



                                                                          RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                            Deputy Clerk
